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IN THE UNITED sTATES DIsTRICT CoURT ‘ "'~-

FOR THE WESTERN DISTRICT OF TENNESSEE 05 £PR 26 , H
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WESTERN DIVISION
n
TYRONE A. BYRD, C§_>§F§-|f;t 513 nbi f 30
W"D OF TN Mt;~jPH:S`
Plainu'ff,
V. No. 03-2490 B

TRAVIS FLENNIKEN, SOUTHEAST
COMMUNITY CAPITAL and
TECHNOLOGY 2020,

Defendants.

 

ORDER DENYING AS MOOT
PLAINTIFF'S MOTION TO DENY DEFENDANTS‘ MOTION FOR ATTORNEYS' FEES

 

Pending on the Court's docket in this matter is the October 12, 2004 motion of the Plaintiff,
Tyrone A. Byrd, to deny the motion of the Defendants, Travis Flenniken, Southeast Community
Capital and Technology 2020, for an award of attorney's fees. ln an order entered on October 15 ,
2004, the Court denied the Defendants' motion.1 Accordingly, the Plaintift‘s request is DENIED as

moot.

Q__
IT ls so oRDERED thisl_$ day of ril 2005.

/M

. DANIEL BREEN
UN FED STATES DISTRICT\ JUDGE

 

 

'The filing of the R;g g Plaintiff is in actuality a response to the Defendants' motion

Th!s document entered on the docket sheet ln compliance 70
with nule 53 and/or 79(3) FacP on _/f"aZ/i 115

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This notice confirms a copy of the document docketed as number 70 in
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Honorable J. Breen
US DISTRICT COURT

